         Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 1 of 33




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



PARKER MADISON PARTNERS,                             Index No.: 1:16-cv-08939-VSB
individually and on behalf of all others similarly
situated,

                         Plaintiff,

    -against-


AIRBNB, INC.,

                         Defendant.




                PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
                      TO AIRBNB, INC.’S MOTION TO DISMISS




                                                         NEWMAN FERRARA LLP
                                                         Lucas A. Ferrara
                                                         Jeffrey M. Norton
                                                         1250 Broadway, 27th Fl.
                                                         New York, NY 10001
                                                         (212) 619-5400



       [ORAL ARGUMENT REQUESTED]
           Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 2 of 33




                                                TABLE OF CONTENTS



TABLE OF AUTHORITIES .................................................................................................... ii

I.       INTRODUCTION .........................................................................................................1

II.      STATEMENT OF FACTS ............................................................................................4

         A. Airbnb Provides Real Estate Services in the State of New York ............................4

         B. Legal Requirements Exist for Providing Real Estate Services in the
            State of New York ...................................................................................................5

III.     ARGUMENT .................................................................................................................6

         A. Plaintiff has Standing Under Article III ...................................................................6
              1. Plaintiff Suffered an Injury in Fact ....................................................................7

              2. Plaintiff’s Injury is “Fairly Traceable” to the Conduct of Airbnb
                 and will be Redressed With a Favorable Decision ..........................................11

         B. Plaintiff has Standing to Pursue Claims of Unfair Competition and
            Violations of GBL § 349........................................................................................12

              1. Plaintiff Alleges a Cognizable Harm Sufficient for Both of its
                 Unfair Competition Claims ..............................................................................13

              2. Defendant’s Misrepresentations and Omissions Threaten the Public
                 Interest and the Integrity of the Regulated Real Estate Industry .....................15

         C. Plaintiff States Claims for Which Relief may be Granted .....................................18

              1. Plaintiff States a Claim for Unfair Competition Under New York
                 Common Law...................................................................................................19

              2. Plaintiff States a Claim for Violations of GBL § 349 ......................................22

              3. Plaintiff’s Claims Arise From Defendant’s Unfair Competition
                 Through Misrepresentations to Consumers .....................................................23

IV.      CONCLUSION ............................................................................................................24
             Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 3 of 33




                                                   TABLE OF AUTHORITIES

Cases

2 Park Ave. Assocs. v. Cross & Brown Co.,
  36 N.Y.2d 286 (1975) .............................................................................................................. 16, 17

Azby Brokerage, Inc. v. Allstate Ins. Co.,
  681 F. Supp. 1084 (S.D.N.Y. 1988) ........................................................................................... 12

Bell Atlantic Corp. v. Twombly,
  550 U.S. 544 (2007) ....................................................................................................................... 19

Bendell v. De Dominicis,
  251 N.Y. 305 (1929) ...................................................................................................................... 18

Blue Cross & Blue Shield of New Jersey, Inc. v. Philip Morris USA Inc.,
  344 F.3d 211 (2d Cir. 2004), certified question accepted, 100 N.Y.2d 636 (2003),
  and certified question answered sub nom. 3 N.Y.3d 200 (2004) .......................................... 15, 16

Bristol-Myers Squibb Co. v. McNeil-P.P.C., Inc.,
  786 F.Supp. 182 (E.D.N.Y. 1992), aff’d in part, vacated in part,
  973 F.2d 1033 (2d Cir. 1992) .................................................................................................. 12, 16

Casper Sleep, Inc. v. Mitcham and Matress Nerd LLC,
  Case No. 16 Civ.. 3224 (JSR), 2016 WL 7188788 (S.D.N.Y. Nov. 17, 2016).......................... 11

Conboy v. AT&T Corp.,
  241 F.3d 242 (2d Cir. 2001) .......................................................................................................... 23

Conboy v. AT&T Corp.,
  84 Supp. 2d 492 (S.D.N.Y. 2000) ................................................................................................. 23

Dodge v. Richmond,
 5 A.D.2d 593 (1st Dep’t 1958) ...................................................................................................... 16

Galbreath-Ruffin Corp. v. 40th & 3rd Corp.,
 19 N.Y.2d 354 (1967) .......................................................................................................................1

Goldman v. Belden,
 754 F.2d 1059 (2d Cir. 1985) ........................................................................................................ 19

                                                                         ii
             Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 4 of 33




Gucci Am., Inc. v. Duty Free Apparel, Ltd.,
 277 F.Supp.2d 269 (S.D.N.Y. 2003) ............................................................................................. 15

Harper v. N.Y. City Hous. Auth.,
 673 F.Supp.2d 174 (S.D.N.Y. 2009) ............................................................................................. 19

Jeffrey Milstein, Inc. v. Greger, Lawlor, Roth, Inc.,
  58 F.3d 27 (2d Cir. 1995)......................................................................................................... 14, 19

Jinno Int’l Co. v. Premier Fabrics,
  Case No. 12 CIV. 07820 LGS, 2013 WL 4780049 (S.D.N.Y. May 24, 2013) ................... 14, 15

Katin v. Nat’l Real Estate Info. Servs.,
  Case No. CIV. A. 07-10882DPW, 2009 WL 929554 (D. Mass. Mar. 31, 2009) .................... 8, 9

Kavian v. Vernah Homes Co.,
  19 A.D.3d 649 (2d Dep’t 2005)..................................................................................................... 21

Leider v. Ralfe,
  387 F.Supp.2d 283 (S.D.N.Y. 2005) ............................................................................................. 13

Ling’s Properties, LLC v. Bode,
  94 A.D.3d 951 (2d Dep’t 2012)..................................................................................................... 13

Lujan v. Defs. of Wildlife,
  504 U.S. 555 (1992) ..........................................................................................................................7

Metropolitan Opera Ass’n v. Wagner-Nichols Recorder Corp.,
 199 Misc. 786 (Sup. Ct., N.Y. County 1950) ......................................................................... 19, 20

N. State Autobahn, Inc. v. Progressive Ins. Grp. Co.,
  102 A.D.3d 5 (2d Dep’t 2012)....................................................................................................... 12

Oswego Laborers’ Local 214 Pension Fund v. Marine Midland Bank,
  85 N.Y.2d 20 (1995) .................................................................................................... 13, 14, 16, 22




                                                                         iii
              Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 5 of 33




Robainas v. Metro Life Ins. Co.,
  Case No. 14CV9926 DLC, 2015 WL 5918200 (S.D.N.Y. Oct. 9, 2015), aff’d sub
  nom. Ross v. AXA Equitable Life Ins. Co., No. 15-2665-CV, 2017 WL 730266 (2d
  Cir. Feb. 23, 2017) .................................................................................................................... 10, 11

Roman v. Lobe,
  243 N.Y. 51 (1926)......................................................................................................................... 17

Ross v. AXA Equitable Life Insurance Co.,
  115 F.Supp.3d 424, 430 (S.D.N.Y. 2015), aff’d, No. 15-2665-CV,
  2017 WL 730266 (2d Cir. Feb. 23, 2017) .............................................................................. 10, 11

Roy Exp. Co. Establishment of Vaduz, Liechtenstein v. Columbia Broad. Sys., Inc.,
  672 F.2d 1095 (2d Cir. 1982) ........................................................................................................ 20

Securitron Magnalock Corp. v. Schnabolk,
  65 F.3d 256 (2d Cir. 1995)............................................................................................................. 16

Serrano v. Cablevision Sys. Corp.,
  863 F.Supp.2d 157 (E.D.N.Y. 2012)............................................................................................. 22

Spokeo, Inc. v. Robins,
  136 S. Ct. 1540 (2016) ............................................................................................................... 7, 11

Stutman v. Chemical Bank,
  95 N.Y.2d 24 (2000) ...................................................................................................................... 14

Trieber v. Aspen Dental Mgmt., Inc.,
  94 F.Supp.3d 352 (N.D.N.Y. 2015) .......................................................................................... 9, 10

Triber v. Aspen Dental Mgmt., Inc.,
  635 F.App’x 1 (2d Cir. 2016) .............................................................................................. 9, 10, 24

Vedder Software Grp. Ltd. v. Ins. Sers. Offices, Inc.,
  Case No. 111CV00369GTSCFH, 2013 WL 12121098 (N.D.N.Y. Mar. 22, 2013),
  aff’d sub nom. Vedder Software Grp. Ltd. v. Ins. Servs. Office, Inc., 545 F. App’x
  30 (2d Cir. 2013) ............................................................................................................................ 14

Vitabiotics Ltd. v. Krupka,
  606 F.Supp. 779 (E.D.N.Y. 1984) ........................................................................................... 15, 16


                                                                          iv
              Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 6 of 33




Yantha v. Omni Childhood Ctr., Inc.,
  Case No. 13 Civ. 1948, 2013 WL 5327516 (E.D.N.Y. Sept. 20, 2013) ............................... 12, 13

Yarbough v. AXA Equitable Life Ins. Co.,
  Case No. 15-CV-2585 RJS, 2015 WL 6792225 (S.D.N.Y. Oct. 22, 2015), aff’d sub
  nom. Ross v. AXA Equitable Life Ins. Co., No. 15-2665-CV, 2017 WL 730266 (2d
  Cir. Feb. 23, 2017) .................................................................................................................... 10, 11

Yellow Book Sales & Distribution Co. v. Hillside Van Lines, Inc.,
  98 A.D.3d 663 (2d Dep’t 2012)..................................................................................................... 22


Statutes

Fed. R. Civ. P. 12(b)(1) .................................................................................................... 1, 3, 8, 18, 24

Fed. R. Civ. P. 12(b)(6) ......................................................................................... 1, 3, 4, 8, 18, 19, 24

GBL § 349.................................................................................................................................... passim

NYRPL § 440-a ........................................................................................................................... passim

NYRPL § 440(1) ......................................................................................................................... passim

NYRPL § 441-b................................................................................................................................ 5, 6

NYRPL § 442 ..................................................................................................................................... 17

NYRPL § 442-d.................................................................................................................. 1, 13, 20, 21

NYRPL § 442-e .................................................................................................................................. 10

Other Authority

Code of Ethics and Standards of Practice, National Association of Realtors,
  https://www.nar.realtor/sites/default/files/policies/2017/2017-Code-of-Ethics.pdf
  (last visited Mar. 3, 2017) .................................................................................................................6

Code of Ethics, Real Estate Board of New York,
  https://www.rebny.com/content/rebny/en/about/code-of-ethics.html
  (last visited Mar. 3, 2017) ...............................................................................................................6




                                                                           v
             Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 7 of 33




FAQ - Real Estate Salesperson and Broker, Div. of Licensing Services, Dep’t of State,
  https://www.dos.ny.gov/licensing/re_salesperson/re_sales_broker_faq.html#3
  (last visited Mar. 3, 2017...................................................................................................................6

Professional Standards, New York State Association of REALTORS,
   http://www.nysar.com/top-navigation/professional-standards
   (last visited Mar. 3, 2017) ........................................................................................................... 18




                                                                         vi
         Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 8 of 33




        Plaintiff Parker Madison Partners (“Parker Madison” or “Plaintiff”) respectfully submits

this Memorandum of Law in Opposition to Airbnb, Inc.’s (“Airbnb” or “Defendant”) Motion to

Dismiss pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). For the reasons argued herein,

Plaintiff respectfully submits that Defendant’s motion should be denied in its entirety.

I.      INTRODUCTION

        The central question in this case is whether Airbnb uses deception in order to exploit and

unfairly compete for business in a regulated marketplace reserved exclusively for licensed real

estate professionals. Parker Madison, like all members of the class, is a licensed real estate

broker. Airbnb is not.

        New York Real Property Law (“RPL”) § 440(1), unambiguously provides that a “real

estate broker” is any person or firm that, inter alia, lists for sale, exchanges, buys or rents, or

attempts to negotiate a rental of an estate or interest in real estate, or collects or offers or attempts

to collect rent for the use of real estate. Any individual or business that falls within the definition

of a real estate broker must procure a license from the State of New York pursuant to RPL § 440-

a. And, any individual or business that conducts business as a real estate broker without a license

is prohibited from earning fees and commissions. See RPL § 442-d; Galbreath-Ruffin Corp. v.

40th & 3rd Corp., 19 N.Y.2d 354, 362 (1967). New York’s licensing requirements exist to

protect consumers from deceptive and unethical conduct, maintain professional standards, and

ensure that only licensed brokers (who follow the rules and abide by the law) maintain

entitlement to commissions.

        As alleged in Plaintiff’s Amended Complaint (the “Amended Complaint”), Airbnb’s

services, operations, and practices fit squarely within the clear-cut legal definition of a “real

estate broker” under New York law. Indeed, in addition to its open and obvious real estate

practices, Airbnb’s own documents represent that it: (a) operates a property rental listing service;
         Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 9 of 33




(b) connects parties for the purpose of consummating rental transactions; (c) collects and

distributes rental payments; (d) takes fees proportional to the value of rental transactions; and (e)

provides numerous services ancillary to its listing and transactional operations, including rental

payment processing, negotiating tools, free photographic services, dispute resolution, and escrow

services. Airbnb also engages in various activities that licensed brokers are either prohibited

from engaging in or which require specific disclosure to and written waivers from consumers.

These include self-interested transactions, conflicts of interest, and limitations on liability. Yet,

unconstrained by licensing requirements, regulatory oversight, and professional standards,

Airbnb remains free to gain an unfair competitive advantage over licensed real estate brokers

who are obligated to operate within the bounds of the law.

       Since it began listing and brokering apartment rentals in New York and elsewhere,

Airbnb has drawn hundreds of thousands of consumers, facilitated millions of rental transactions,

and collected billions of dollars in fees and commissions for services requiring licensure and

oversight. Airbnb deceives consumers (and diverts business from licensed real estate brokers)

not only by way of material omissions (i.e., failing to disclose that its services, fees, and

commissions are unlicensed, unregulated, and illegal) but through express misrepresentations.

While Defendant argues that Airbnb’s Terms of Service effectively disclaim its role as a broker

vis-à-vis consumers, this fact actually compounds the deception. Indeed, expressly disclaiming

the application of law is an acknowledgement that the law was read and understood in the first

instance. To that end, Airbnb has not (and cannot) explain how its services fall outside the scope

of RPL § 440, et seq.

       Airbnb undoubtedly recognizes that its actions are prohibited under New York law, but,

for obvious reasons (indeed, billions of reasons), it actively maintains the pretext of legality. By



                                                -2-
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 10 of 33




this action, Plaintiff seeks to enjoin Airbnb from continuing to provide real estate brokerage

services that it is unlicensed to provide. Such relief will prevent Airbnb from further taking

unfair advantage of a marketplace through deceptive conduct and prevent Airbnb from diverting

consumers and revenue away from licensed real estate brokers.

       Defendant moves to dismiss under Fed. R. Civ. P 12(b)(1) asserting that licensed real

estate brokers such as Plaintiff lack Article III and statutory standing to enjoin an unlicensed real

estate broker from engaging in unfair competition. Defendant argues, erroneously, that Plaintiff

lacks standing because it has no cognizable injury and is attempting to use General Business Law

(“GBL”) § 349 and the New York common law claim of unfair competition to create a private

right of action where none exists. Airbnb is wrong.

       Because Airbnb is deceiving real estate consumers for the purpose of diverting business

and commissions away from licensed brokers – and thereby gaining an unfair competitive

advantage in a commercial space reserved for licensed brokers – Plaintiff establishes a readily-

ascertainable and cognizable harm to itself and others. Conversely, the cases relied on by Airbnb

involve instances where there was no ascertainable harm or consumer-related conduct traceable

to a statutory violation. This is a critical distinction that Airbnb attempts to obscure. It is not the

violation of RPL § 440 that forms the basis of Plaintiff’s claims but rather the deception of

Airbnb’s illegal conduct that facilitates unfair competition to the detriment of licensed brokers.

This is more than a sufficient basis for Article III and statutory standing under GBL § 349.

       Finally, despite its initial insistence that Plaintiff’s motion for summary judgment was

premature and persuading the Court to stay all matters (including discovery) pending a

determination of the Court’s subject matter jurisdiction, Defendant also moves for dismissal

under Rule 12(b)(6) for failure to state a claim. This is contrary to the Court’s instruction at the



                                                 -3-
          Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 11 of 33




December 20, 2016 pre-motion hearing whereat the Court opted to hold in abeyance Plaintiff’s

motion summary judgment (Dkt. No. 4), and deny Plaintiff’s request to serve a Request for

Admission, so that the threshold issue of subject matter jurisdiction could be resolved.

Accordingly, if the Court elects to further consider Defendant’s Rule 12(b)(6) motion, Plaintiff

respectfully submits that its motion for summary judgment be considered and/or that it be

permitted to proceed immediately with the requested discovery.

II.      STATEMENT OF FACTS

         A. Airbnb Provides Real Estate Services in the State of New York

         Since 2008, Airbnb has operated as a “marketplace for people to list, discover, and book

unique accommodations around the world — online or from a mobile phone or tablet.” AC ¶ 32.1

According to Airbnb, it has facilitated accommodations for more than “60,000,000” Guests, in

more than “34,000” cities, in more than “190” countries. Id. A significant portion of Airbnb’s

business and revenue comes from the services it provides within the State and City of New York.

Id. at 17. In fact, in New York City, alone, Airbnb reportedly brokers an average of 25,000 rental

transactions per day (earning hundreds of millions of dollars in commissions annually), making it

Airbnb’s largest real estate rental market in the entire United States. AC ¶¶ 17, 33.

         Airbnb’s website, available at www.airbnb.com, and its related mobile application,

provide a platform through which third parties can list accommodations for rent (“Hosts”) and

third parties desiring to book accommodations for rent (“Guests”) can locate each other,

communicate, and enter into agreements to reserve and consummate property rentals through

Airbnb. AC ¶¶ 32, 34, 39. Airbnb services include listing and advertising properties available

for rent, regulating and controlling the online forum through which all Hosts and Guests must

1
      References to Plaintiff’s Amended Complaint are cited as “AC ¶__.”



                                                  -4-
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 12 of 33




conduct their communications and negotiations, and providing the exclusive mechanism to

process payments for consummating rental agreements. AC ¶ 39. Airbnb also aids Hosts in

setting rental prices for their units using Airbnb’s proprietary software and business data of all

Airbnb rentals in the particular location. AC ¶ 39 Airbnb also provides free-of-charge a

professional photographer to take pictures of Host properties to be published on its website and

outside advertising to increase traffic to its listings. AC ¶ 39

       Upon consummation of a rental agreement, Airbnb requires that Guests pay all of the rent

and commission owed in each transaction directly to Airbnb. AC ¶ 39. Airbnb then acts as the

escrow agent and determines when and how much of the rental money is distributed to the Hosts.

Id. Airbnb charges Hosts a 3% commission on the revenue generated from rentals completed

through its website and also charges its Guests a commission. Id. at ¶¶ 35-37. Airbnb does not

disclose the percentage or amount of these Guest commissions to the Hosts or anyone other than

the Guests. Id. at ¶ 38. However, Airbnb’s website claims the Guests’ commissions vary with

each transaction and fall somewhere within a range of 6% to 12% of the rental contract. AC ¶ 38.

       B. Legal Requirements Exist for Providing Real Estate Services in
          the State of New York

       New York law mandates that “[n]o person, co-partnership, limited liability company or

corporation shall engage in or follow the business or occupation of, or hold himself or itself out

or act temporarily or otherwise as a real estate broker … in this state without first procuring a

license therefor.” RPL § 440-a. A “real estate broker” is defined as “any person, firm, limited

liability company or corporation, who, for another and for a fee, commission or other valuable

consideration … rents, or offers or attempts to negotiate a … rental of an estate or interest in real

estate, or collects or offers or attempts to collect rent for the use of real estate.” RPL § 440(1).




                                                 -5-
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 13 of 33




       All real estate brokers operating within the State of New York must obtain a license.

RPL § 440-a. Brokers applying for a license must adhere to the stringent requirements of RPL §

441. Furthermore, real estate brokers must pay license fees pursuant to RPL § 441-b.

       The process for being approved as a licensed real estate broker is extensive.

       In order to qualify for licensure as a real estate broker, an applicant must have at
       least two years of experience as a licensed real estate salesperson or at least three
       years of experience in the general real estate field (e.g., buying and selling your
       own property, managing property owned by your employer), have satisfactorily
       completed both the qualifying salesperson course of 75 hours and an additional
       45-hour real estate broker course as approved by the Secretary of State, and have
       passed a qualifying examination administered by the Department of State.

FAQ – Real Estate Salesperson and Broker, Division of Licensing Services, Department of State

https://www.dos.ny.gov/licensing/re_salesperson/re_sales_broker_faq.html#3 (last visited Mar.

3, 2017).

       Once licensed, real estate brokers have continuing obligations, including a requirement of

completing 22.5 hours of approved continuing education within their license period in order to

renew their licenses. Id.    Real estate continuing education credit is granted for programs

approved by the Department of State (“DOS”) only and offered only by DOS-approved

providers. See http://www.nysar.com/education/requirements-for-nys-realtors. Licensed real

estate brokers also adhere to a number of codes of ethics. See Code of Ethics, Real Estate Board

of New York, https://www.rebny.com/content/rebny/en/about/code-of-ethics.html (last visited

Mar. 3, 2017); Code of Ethics and Standards of Practice, National Association of Realtors,

https://www.nar.realtor/sites/default/files/policies/2017/2017-Code-of-Ethics.pdf      (last   visited

Mar. 3, 2017).

       There is no plausible argument as to whether the services Airbnb provides and

commissions it takes on every rental transaction require a license. Yet, for obvious reasons,



                                               -6-
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 14 of 33




Airbnb maintains that it is not a real-estate broker (Def. Mem. at 3) and uses this deception to

exploit a marketplace and its lawful participants.

III.   ARGUMENT

       A. Plaintiff has Standing Under Article III

       Article III standing requires allegations that a plaintiff “(1) suffered an injury in fact, (2)

that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).

As alleged in the Amended Complaint and argued herein, Airbnb’s deceptive conduct causes

injury by allowing it to illegally exploit a marketplace and compete for and divert customers and

revenue away from licensed real-estate brokers in New York, including the Plaintiff. The harm

befalling Plaintiff and others results directly from Airbnb flourishing operations (which deceive

consumers and allow it to gain an unfair competitive advantage) in a commercial space reserved

solely for licensed real-estate brokers. Finally, the harm will be redressed with appropriate

injunctive and declaratory relief preventing Airbnb from engaging in such conduct.

           1. Plaintiff Suffered an Injury in Fact

       “To establish injury in fact, a plaintiff must show that he or she suffered ‘an invasion of a

legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not

conjectural or hypothetical.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 (1992)). By offering services to real estate consumers that only

licensed brokers can offer and taking commissions on rental transactions that only licensed

brokers can earn, Airbnb’s conduct causes an injury in fact (financial, reputational, and

professional) to licensed brokers, like the Plaintiff.




                                                 -7-
         Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 15 of 33




        The burden on Plaintiff to plead an injury in fact on a motion to dismiss is low. See Katin

v. Nat’l Real Estate Info. Servs., Inc., No. CIV. A. 07-10882DPW, 2009 WL 929554, at *1 (D.

Mass. Mar. 31, 2009). In Katin, the plaintiffs, licensed attorneys who had undertaken

conveyancing for real estate transactions, alleged that the defendants had engaged in the

unauthorized practice of law and unfair competition by engaging in conveyancing for banks and

mortgage lenders without a license to practice law. Id. As in this case, defendants moved to

dismiss alleging that plaintiffs lacked Article III standing and failed to state a claim for which

relief could be granted. Id. at *2. With regard to Article III standing, defendants argued that there

was no injury alleged or “that [plaintiffs] in particular lost a single client or opportunity.” Id. at

*6. Although the court made clear that “it would be insufficient for a plaintiff seeking damages

merely to allege the presence of illegal competition in the same industry,” it denied the motion to

dismiss finding that “where—as in this case—a plaintiff alleges actual economic injury but does

not offer specific examples, [. . .] plaintiff’s allegations establish a “plausible entitlement to

relief” under the Twombly pleading standard.” Id. This was so even where the complaint neither

identified “any particular clients who stopped using plaintiffs for conveyancing services in favor

of the defendants” nor “that any particular prospective client transactions were adversely affected

by the defendants’ allegedly unlawful activity.” Id. at *4. The court found that “plaintiffs’

general allegations of economic harm” were sufficient to survive a motion to dismiss. Id. at *7.2



2
    The court also denied defendants 12(b)(6) motion in regards to the unfair competition claim pursuant
to Massachusetts deceptive and unfair practices law. Mass. Gen. Laws ch. 93A §§ 2, 11. The court held
that “plaintiffs’ allegations that defendants adversely affected their competitive position in the market for
conveyancing services by engaging in the unauthorized practice of law may constitute an ‘unfair method
of competition’ within the meaning of Chapter 93A.” Defendants argued that even if deception occurred,
the plaintiffs suffered no injury. The court reiterated its analysis under 12(b)(1), holding “that plaintiffs
have pled sufficient facts to allege that they are subject to ongoing economic harm of a potentially



                                                    -8-
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 16 of 33




        Similar to defendants in Katin, here, Airbnb is acting as a real estate broker without a

license and alleged to be unfairly competing with licensed brokers, such as Plaintiff, by

exploiting a commercial space reserved for licensed and regulated brokers (while insulating itself

from regulation and oversight). AC ¶ 45. For these reasons, Airbnb has misappropriated, and

continues to misappropriate, customers, fees and commissions that only licensed real estate

brokers are entitled to. AC ¶ 52. Therefore, Plaintiff’s alleged injuries are plead with sufficient

particularity for Article III purposes.

        Defendant asserts incorrectly that Trieber v. Aspen Dental Management, Inc., 94 F. Supp.

3d 352, 363 (N.D.N.Y. 2015), aff’d, 635 F. App’x 1 (2d Cir. 2016), is dispositive. Unlike in the

present case where the Plaintiff and the class are in competition with an unlicensed broker (i.e.,

Airbnb), in Trieber the plaintiffs were consumers who alleged they were injured when they were

deceived into paying for services provided by a dental services provider engaging in the

unauthorized corporate practice of medicine. Id. In its motion to dismiss, defendants argued that

the plaintiffs had “not alleged they were harmed by defendants in any medical or financial sense,

and [that] the unlicensed practice of medicine, standing alone, is not a legally cognizable harm

under New York law.” Id. The court dismissed the complaint because it found that consumers

treated by the defendant did not allege a sufficient injury. Id. at *3. Specifically, the plaintiffs did

“not allege that they were treated by any unlicensed dentists, that any doctor committed

malpractice, that they were ever billed for services that they did not need or receive, or that they

suffered injury from any other conduct that, in itself, might ‘tend[ ] to deceive consumers.’” Id.




indefinite nature from the adverse effect of defendants’ presence in the market for conveyancing
services.” Id.



                                                 -9-
         Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 17 of 33




        Unlike in Trieber, the Plaintiff here is not a consumer, but a corporate competitor

alleging that Defendant has and continues to unfairly compete in a commercial space reserved

for licensed real estate brokers.3 Moreover, Plaintiff here alleges a concrete and specific injury in

that it suffered harm due to Airbnb conducting business in a marketplace reserved exclusively for

licensed brokers such as the Plaintiff and the purported class. AC ¶ 47. Thus, unlike Trieber,

Plaintiff here has alleged a specific harm as a result of Airbnb’s unfair competition and

collection of commissions and fees to which only Plaintiff and the members of the class are

entitled to. AC ¶ 57.

        Defendant’s reliance on cases such as Yarbough v. AXA Equitable Life Ins. Co., Ross v.

AXA Equitable Life Insurance Co., and Robainas v. Metro. Life Ins. Co. is also misplaced. Each

of these three cases focused on insurance companies’ use of reinsurance and “shadow insurance”

transactions. The plaintiffs in these actions alleged that the defendant insurance companies were

misrepresenting their financial health by not disclosing these shadow insurance transactions, and

as a result plaintiffs “paid premiums for life insurance policies that are less financially secure

than AXA represented them to be.” Ross v. AXA Equitable Life Ins. Co., 115 F. Supp. 3d 424,

431 (S.D.N.Y. 2015); see Robainas v. Metro. Life Ins. Co., No. 14CV9926 DLC, 2015 WL

5918200, at *4 (S.D.N.Y. Oct. 9, 2015) (Plaintiffs alleged that they “paid premiums for life

insurance policies that are less financially secure than MLIC represented them to be.”); see

Yarbough v. AXA Equitable Life Ins. Co., No. 15-CV-2585 RJS, 2015 WL 6792225, at *1

(S.D.N.Y. Oct. 22, 2015) (Plaintiffs alleged “a “theory of injury” that is identical to that

3
    As discussed, infra (Sec. III(C)(3)), the issue in Trieber was also that there was no statutory private
right of action for a violation of New York’s prohibition on the corporate practice of medicine. See 94
F.Supp. at 363. Thus¸ Trieber would only be analogous if the Plaintiff here was a real estate consumer
(not a competitor) and if RPL § 440 lacked a private right of action for disgorgement of illegal
commissions (which it, in fact, provides for). See RPL § 442-e(3).



                                                  - 10 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 18 of 33




advanced by the plaintiffs in Robainas and Ross.”). In Ross, the plaintiffs did not allege that

“they would not have purchased policies from AXA but for its nondisclosures, or that they suffer

any past or current financial harm by virtue of its misrepresentations, any risk of harm that they

face is a risk of harm in the future.” Ross, 115 F. Supp. at 437. Without those allegations, the

court found the claims in all of these cases were “‘far too hypothetical, speculative, and

uncertain.’” Yarbough, 2015 WL 6792225 at *1 citing Ross, 115 F. Supp. at 437; see

also Robainas, 2015 WL 5918200 at *7.

       Here, in contrast, Plaintiff asserts concrete claims. Specifically, were it not for

Defendant’s deception in the real estate marketplace, Defendant would not have been able to

provide services, collect commissions, and divert business away from licensed real estate

brokers, like the Plaintiff and other members of the class. AC ¶¶ 47, 52.

           2. Plaintiff’s Injury is “Fairly Traceable” to the Conduct of
              Airbnb and will be Redressed With a Favorable Decision

       Plaintiff suffered an injury that is direct and “fairly traceable to the challenged conduct of

the defendant.” Spokeo, 136 S. Ct. at 1547. Due to Airbnb’s conduct, thousands of consumers

were made to believe, falsely, that Airbnb was conducting business legally in a commercial

space reserved for licensed real-estate brokers. Because of this deception, Airbnb exploited the

market, competed for customers, and diverted away significant revenue from Plaintiff and the

class of licensed brokers.

       The diversion of consumers and revenue is sufficiently direct and traceable to the conduct

of Airbnb. See Casper Sleep, Inc. v. Mitcham and Mattress Nerd LLC, No. 16 CIV. 3224 (JSR),

2016 WL 7188788 (S.D.N.Y. Nov. 17, 2016). Casper is directly on point. In that action, the

plaintiff alleged that a mattress reviewer violated GBL § 349 when it implied its reviews were

unbiased when in reality it was receiving sales commissions through affiliate marketing


                                               - 11 -
           Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 19 of 33




relationships with many of plaintiff’s competitors. The defendants asserted that plaintiff’s claim

for injury was not direct, but derivative because it was “based wholly on the injury suffered by

consumers in purchasing ‘inferior’ products.” Id. at *2 (internal quotations omitted). In denying a

motion to dismiss, this court stated that “[i]t is the withholding of trade, rather than any

consumer’s subsequent purchase of a competitor’s product, that produces plaintiff’s injury, and

thus that injury is direct, rather than derivative of an injury to consumers.” Id.; see also N. State

Autobahn, Inc. v. Progressive Ins. Grp. Co., 102 A.D.3d 5, 17 (2d Dep’t 2012) (holding that

“direct business loss of customers” due to “an effort to wrest away customers through false and

misleading statements” was a sufficient injury for standing pursuant to GBL § 349). Here,

Airbnb exploits a market by deceiving consumers as to the legality of its services and

commissions which necessarily diverts business and revenue away from licensed real-estate

brokers.

       To redress its injury, Plaintiff and members of the class seek injunctive and declaratory

relief to prevent Airbnb from engaging in unfair competition and conduct that violates GBL §

349. This can be accomplished by enjoining Airbnb from engaging in unlicensed real estate

practices and collecting fees and commissions that it is not lawfully entitled to.

       B. Plaintiff has Standing to Pursue Claims of Unfair Competition and
          Violations of GBL § 349

       A corporate competitor has standing under GBL § 349 if (1) “the act or practice was

misleading in a material way,” Bristol-Myers Squibb Co. v. McNeil-P.P.C., Inc., 786 F. Supp.

182, 215 (E.D.N.Y.), aff’d in part, vacated in part, 973 F.2d 1033 (2d Cir. 1992); (2) “the

plaintiff was injured,” Id.; and, (3) “the gravamen of the complaint must be consumer injury or

harm to the public interest,” Azby Brokerage, Inc. v. Allstate Ins. Co., 681 F.Supp. 1084, 1089 n.




                                               - 12 -
         Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 20 of 33




6 (S.D.N.Y.1988). Airbnb’s representations regarding the legality of its conduct materially

mislead consumers, creates an injury to the Plaintiff, and presents harm to the public interest.

        Plaintiff also has standing for claims of unfair competition. “[A] plaintiff must allege

either a direct financial loss, lost dealings, or lost profits resulting from the anticompetitive acts

at issue, or, at the very least, that defendant diverted plaintiff’s customers and business to

defendant.” Yantha v. Omni Childhood Ctr., Inc., No. 13 Civ. 1948, 2013 WL 5327516, at *7

(E.D.N.Y. Sept. 20, 2013) (quotations and alterations omitted). Plaintiff has explicitly asserted

that “[f]or its own commercial advantage, Airbnb has misappropriated, and continues to

misappropriate, customers, fees, and commissions that only licensed real estate brokers are

entitled to.” AC ¶ 52.

            1. Plaintiff Alleges a Cognizable Harm Sufficient for Both of its
               Unfair Competition Claims
        If an entity engages in the activity outlined by RPL § 440(1), without a license, it is not

entitled to receive commissions. See Ling’s Properties, LLC v. Bode, 94 A.D.3d 951, 952 (2d

Dep’t 2012) (“Real Property Law § 442–d bars unlicensed persons and corporate entities from

recovering fees or commissions for the performance of services facilitating, inter alia, the sale of

real property.”). Airbnb misrepresents its conduct as lawful and outside the purview of New

York’s licensing requirements. This conduct not only deceives consumers into doing business

with Airbnb instead of licensed brokers, but facilitates unfair competition with licensed real-

estate brokers in a regulated marketplace. This gives Airbnb an unfair competitive advantage

(being not bound by strict ethical, licensing, and regulatory requirements) on has resulted in

Airbnb making substantial revenues to which only licensed real-estate brokers, such as Plaintiff,

are entitled.




                                                - 13 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 21 of 33




       Airbnb’s unfair competition and violations of GBL § 349 arise from its active deception –

in the absence of which it would be required to compete on equal footing with licensed real-

estate brokers. A deceptive act is one that would “deceive a reasonable consumer in a material

respect.” Leider v. Ralfe, 387 F. Supp. 2d 283, 292 (S.D.N.Y. 2005); see Oswego Laborers’

Local 214 Pension Fund v. Marine Midland Bank, N.A., 85 N.Y.2d 20, 26 (1995). Airbnb’s

conduct of listing rentals, facilitating and controlling rental transactions, and collecting

commissions (while failing to disclose that it is unlicensed to perform these functions and falsely

representing that it is not a real-estate broker), would deceive a reasonable consumer into

believing that Airbnb’s practices are lawful, that Airbnb can legally collect commissions on the

rental of real estate, and that they need not seek out (and are not entitled to) the services of

licensed real estate brokers.

       Even assuming, arguendo, that Plaintiff failed to point to specific pecuniary harm, unfair

competition claims can also be used to remedy non-pecuniary injuries. See Oswego Laborers’ 85

N.Y.2d at 25 (a plaintiff need not have suffered pecuniary harm to recover under GBL § 349);

Stutman v. Chemical Bank, 95 N.Y.2d at 29 (same). This is especially so where, as here, Plaintiff

seeks only declaratory and injunctive relief (as opposed to monetary). See Jeffrey Milstein, Inc.

v. Greger, Lawlor, Roth, Inc., 58 F.3d 27, 34-35 (2d Cir. 1995). Here, Airbnb is threatening the

very industry which it exploits, diminishing the integrity and quality of Plaintiff’s profession,

and undercutting the purpose of legal requirements and professional standards that all licensed

brokers must maintain. This harm, standing alone, is sufficient for standing under GBL § 349.

       Defendant’s citations to Vedder Software Grp. Ltd. v. Ins. Servs. Offices, Inc. and Jinno

Int’l Co. v. Premier Fabrics, Inc. are erroneous. In Vedder Software, the alleged injury was

solely that the “consuming public has been confused or deceived.” No. 111CV00369GTSCFH,



                                              - 14 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 22 of 33




2013 WL 12121098, at *8 (N.D.N.Y. Mar. 22, 2013). Here, Plaintiff’s assertion is more than the

mere occurrence of misrepresentations to the public, but the fact that the deception resulted in

financial harm, specifically the redirection of hundreds of millions of dollars in business that

only licensed real-estate brokers may earn.

       In Jinno, the defendant alleged a counter-claim for unfair competition because the

plaintiff “persuaded Premier’s customers not to buy from Premier, and instead to buy directly

from Jinno.” No. 12 CIV. 07820 LGS, 2013 WL 4780049, at *1 (S.D.N.Y. May 24, 2013). The

court dismissed this claim because there were “no facts alleged concerning the clients, contact

that Premier supposedly made with the clients, or orders that Jinno purportedly refused to place

for Premier.” Id. at *6. Here, Plaintiff alleges, as Airbnb’s own documents represent, that

Defendant is performing clearly-defined real estate services that require licensure: i.e., listing

and promoting real estate for rent (including tens of thousands of apartments, condos, and homes

throughout the City and State of New York); listing apartments on behalf of and for the benefit

of third parties (i.e., Hosts and Guests); collecting, holding, and distributing rent for said

properties; and taking percentage-based fees from both Hosts and Guests for its role in each

rental transaction. AC ¶ 39. Moreover, Plaintiff alleges that “Airbnb has misappropriated, and

continues to misappropriate, customers, fees and commissions that only licensed real estate

brokers are entitled to.” AC ¶ 52. This is sufficient to establish harm for the purposes of GBL §

349 and a common law claim for unfair competition.

           2. Defendant’s Misrepresentations and Omissions Threaten the
              Public Interest and the Integrity of the Regulated Real Estate
              Industry

       Courts repeatedly and uniformly hold that a “potential danger to the public health or

safety” and “conduct that has ‘significant ramifications for the public at large’” is sufficient for a



                                                - 15 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 23 of 33




corporate competitor to have standing under GBL § 349. Gucci Am., Inc. v. Duty Free Apparel,

Ltd., 277 F. Supp. 2d 269, 273 (S.D.N.Y. 2003); see also Bristol-Myers Squibb Co. v. McNeil-

P.P.C., Inc., 786 F. Supp. 182, 216 (E.D.N.Y.), aff’d in part, vacated in part, 973 F.2d 1033 (2d

Cir. 1992) (discussing Vitabiotics Ltd. v. Krupka, 606 F.Supp. 779 (E.D.N.Y.1984) and granting

preliminary injunction against a defendant who adopted vitamin manufacturer’s mark and trade

dress and whose vitamins allegedly contained unlawful substances); Securitron Magnalock

Corp. v. Schnabolk, 65 F.3d 256, 264 (2d Cir. 1995) (lock manufacturer and installer gave false

information about competitor’s lock to regulatory agency primarily concerned with public

safety); Blue Cross & Blue Shield of New Jersey, Inc. v. Philip Morris USA Inc., 344 F.3d 211,

218 (2d Cir.), certified question accepted, 100 N.Y.2d 636 (2003), and certified question

answered sub nom. Blue Cross & Blue Shield of N.J., Inc. v. Philip Morris USA Inc., 3 N.Y.3d

200 (2004) (health insurer had standing to sue tobacco companies under New York consumer

protection statute for increased costs of care of insured smokers resulting from companies’

schemes to distort body of public knowledge concerning risks of smoking, finding that tobacco

companies’ deceptive practices involved serious harm to public).

       Airbnb’s deception about the legality of its conduct presents an actual danger to the

safety and well-being of the public. The State of New York has made clear that it finds the

activities of a real estate broker as so significant as to require special licensure, regulation, and

oversight. The purpose of RPL § 440-a is to ensure “that standards of competency, honesty and

professionalism are observed by real estate brokers and salesmen.” 2 Park Ave. Assocs. v. Cross

& Brown Co., 36 N.Y.2d 286 (1975). Moreover, licensing serves to “protect dealers in real estate

from unlicensed persons who acted as brokers, and to protect the public from inept,

inexperienced or dishonest persons who might perpetrate or aid in the perpetration of frauds



                                               - 16 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 24 of 33




upon it, and to establish protective or qualifying standards to that end.” Dodge v. Richmond, 5

A.D.2d 593, 595 (1st Dep’t 1958). New York has noted that GBL § 349 has the same purpose as

requiring real estate brokers to be licensed. See Oswego Laborers’, 85 N.Y.2d at 25 (“Consumers

have the right to an honest market place where trust prevails between buyer and seller.”).

       Airbnb has been able (and continues) to deceive consumers into using its services and

paying commissions without the protections of New York licensing law, ethical requirements,

and regulatory compliance afforded by licensed real estate brokers. Airbnb not only flouts these

laws and rules but acts in many ways strictly prohibited by the same. For instance, Airbnb

engages in self-interested transactions, fails to avoid conflicts of interest, and fails to provide

requisite disclosures and obtain appropriate waivers. AC ¶¶ 8, 42, 46. Without appropriate

declaratory and injunctive relief, Airbnb will continue to harm the public in this manner, harm

law abiding real estate practitioners (financially, reputationally, and professionally), and interfere

with New York’s regulation and oversight of the real estate marketplace.

       Defendant is incorrect in stating that the purpose of RPL § 440 is “not to protect other

brokers.” Def. Mem. at 2. This is a myopic view of licensing laws which, by logical inference

also serve to protect the interests of other licensees who have a stake in protecting their revenue

and the integrity of their profession. For example, New York state law prohibits licensed real

estate brokers from splitting commissions with those that are unlicensed. RPL § 442. The court

in Vin Clair v. Kall & Kall, Inc. explained that the purpose of this is “to prevent persons not

entitled to act as brokers or salesmen from deriving profit from the pretense that they were such.”

23 Misc. 2d 568, 571 (Dist. Ct. 1960) quoting 1929 N.Y. Op. Att’y Gen. 135. Here, Airbnb does

exactly that, deriving profit from the pretense they are conducting business legally.




                                                - 17 -
         Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 25 of 33




        Licensed real estate brokers also have a vested interest in protecting the integrity of their

profession from unlawful encroachment. Such an interest was expressed by the New York Court

of Appeal in case of Roman v. Lobe, 243 N.Y. 51, 54 (1926), wherein Judge Cardozo explained

that “[t]he real estate broker is brought by his calling into a relation of trust and confidence.

Constant are the opportunities by concealment and collusion to extract illicit gains. ” See also

Bendell v. De Dominicis, 251 N.Y. 305, 310 (1929) (“One purpose of the statute was to mark off

the business of the broker as distinct from occupations which by general acquiescence are

pursued of common right without regulation or restriction, and to make illegal the acts of the

unlicensed in the real estate broker's field.”)(internal citations omitted).

        The dedication to maintaining the integrity of real-estate brokers is also self-evident in

the profession’s code of ethics, requirements for continuing education, and its goal of not just

“Respect for the Public,” but also “Respect for Peers.” Professional Standards, New York State

Association of REALTORS, http://www.nysar.com/top-navigation/professional-standards (last

visited Mar. 3, 2017).         Here, Plaintiff sufficiently alleges that it has a vested interest in

maintaining the integrity of its profession and the commissions it is entitled to. AC ¶ 49.

        C. Plaintiff States Claims for Which Relief may be Granted

        In addition to its motion under Rule 12(b)(1), which was permitted by the Court, Airbnb

moves to dismiss for failure to state a claim under Rule 12(b)(6), which was not specifically

authorized by the Court.4 Rather than asking the Court to hold this portion of Defendant’s motion


4
     See hearing transcript of proceedings held on December 20, 2016. Upon considering whether it could
proceed with Plaintiff’s motion for summary judgment in light of Defendant’s anticipated challenge to
Article III standing, the Court stated: “So I think on that issue I don't think it’s ripe yet, frankly. I think we
will deal initially with the jurisdictional issue and we’ll set a briefing schedule on that.” Trans., p. 8, lines
4-5. When asked whether Plaintiff could serve only a Request to Admit, the Court stated: No, we're going
to stay it all. If there’s no jurisdiction, you’re not entitled to get any admission. So let me put it this way,



                                                     - 18 -
          Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 26 of 33




in abeyance, it is respectfully requested that the Court also consider Plaintiff’s motion for

summary judgment (assuming the Court finds that subject matter jurisdiction exists and that

Plaintiff’s claims have been stated sufficiently). As fully set forth in Plaintiff’s Motion for

Summary Judgment (Dkt. No. 5), there is more than sufficient uncontested (and uncontestable)

facts and evidence to decide the issue of whether Airbnb is a real estate broker as a matter of law.

Alternatively (or in addition), Plaintiff renews its request to serve a Request for Admission on

Airbnb.

        With regard to the sufficiency of Plaintiff’s pleading, it is well settled that “the

allegations in the complaint are accepted as true, and all reasonable inferences are drawn in the

plaintiff’s favor.” Harper v. N.Y. City Hous. Auth., 673 F. Supp. 2d 174, 178 (S.D.N.Y. 2009).

“The court’s function on a Rule 12(b)(6) motion is not to weigh the evidence that might be

presented at a trial but merely to determine whether the complaint itself is legally sufficient.”

Goldman v. Belden, 754 F.2d 1059, 1067 (2d Cir. 1985). Plaintiff need allege “only enough facts

to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955,

1960 (2007).

            1. Plaintiff States a Claim for Unfair Competition Under New
               York Common Law

        “[T]he essence of unfair competition under New York common law is the bad faith

misappropriation of the labors and expenditures of another, likely to cause confusion or to

deceive purchasers as to the origin of the goods.” Jeffrey Milstein, Inc. v. Greger, Lawlor, Roth,

Inc., 58 F.3d at 34 (internal quotations omitted). In an action for equitable relief, as is the case


even if you were to serve them, I would stay the response until such time as I decide the motion. So
rather than have you go through the exercise of doing it, obviously you can prepare whatever you like,
but we’re going proceed with the jurisdictional motion first.” Trans., p. 11, lines 8-15 (emphasis added).



                                                  - 19 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 27 of 33




here, a plaintiff need only show “a likelihood of confusion” between the services of the plaintiff

and defendant. Id. at 35.

       Unfair competition is a broad doctrine that encompasses “any form of commercial

immorality.” Metropolitan Opera Ass’n v. Wagner-Nichols Recorder Corp., 199 Misc. 786, 796

(Sup. Ct., N.Y. County 1950), aff’d, 279 A.D. 632 (1st Dep’t 1951); see Roy Exp. Co.

Establishment of Vaduz, Liechtenstein v. Columbia Broad. Sys., Inc., 672 F.2d 1095, 1105 (2d

Cir. 1982) (discussing “the ‘incalculable variety’ of illegal practices falling within the unfair

competition rubric). A valid claim for unfair competition alleges the “misappropriati(ng) for the

commercial advantage of one person ... a benefit or ‘property’ right belonging to

another.” Metropolitan Opera, 199 Misc. at 793.

       Defendant asserts that the Amended Complaint lacks any allegations of how Airbnb

resembles Plaintiff. Def. Mem. at 1. This is hardly so. Indeed, the Amended Complaint lays out

in great detail how Airbnb actively engages in activity bringing it squarely within either of the

alternate legal definitions of a “real estate broker” under RPL § 440(1). As alleged in the

Amended Complaint, Airbnb’s is involved in virtually all aspects of facilitating and completing

rental transactions involving New York properties on its platform, including the collection of

rent and obtaining fees and commissions for its services. AC ¶ 40. Further, the Amended

Complaint sets forth the fact that “Parker Madison Partner’s president, Samuel Irlander, holds a

brokers’ license in his own name, and Parker Madison Partners serves as his brokerage.” AC ¶

16. Therefore, despite the fact that Plaintiff and members of the class are licensed real estate

brokers and Airbnb is not, both parties engage in the activity described in RPL § 440(1).

       As described in the Amended Complaint and herein, Airbnb is exploiting a marketplace

and misappropriating Plaintiff’s customer base and potential revenue by acting in a deceptive



                                              - 20 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 28 of 33




manner and insulating itself from regulation and oversight. AC ¶ 45. In the State of New York, a

real estate broker’s license is required for anyone facilitating, for a fee, the rental of real

property. This is precisely what Airbnb does yet, despite the plain language of RPL § 440, et

seq., decades of case law precedent, and several New York Attorney General Opinions, Airbnb

has failed, and continues to refuse, to procure a real estate broker’s license in New York. Airbnb

does not deny this fact.

       Airbnb has gained an unfair commercial advantage over Plaintiff and members of the

class by operating a business in a space reserved licensed brokers. “Real Property Law § 442–d

bars an unlicensed person from recovering commissions if that person has performed services

facilitating, inter alia, the sale of real property.” Kavian v. Vernah Homes Co., 29 A.D.3d 649,

650 (2d Dep’t 2005). Airbnb’s success in this marketplace is a direct result of it acting outside

the law, placing it on unequal footing with Plaintiff and members of the class while competing

for the same customers and commissions.

       In its Terms of Service, Airbnb specifically disclaims that it is a real estate broker and

suggests that this pronouncement carries some weight. Def. Mem. at 17. However, the opposite

is true. First, RPL § 440, et seq. makes no exception for self-serving disclaimers to relieve those

clearly falling within its terms of licensing and regulatory compliance. And, second, the

disclaimer demonstrates active deception on the part of Airbnb whose real estate broker conduct

falls undeniably within the purview of RPL § 440, et seq. In fact, this is worse than the material

omission Airbnb is guilty of because an implausible denial of this sort is essentially an admission

of the deception. Stated otherwise, Airbnb deprives itself of the defense of ignorance because it

must have understood what a “broker” was in order to deny being one.




                                              - 21 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 29 of 33




       Because Airbnb’s deception facilitates its exploitation of the marketplace, causing

confusion to consumers (who both should seek out and are entitled to the benefits and

protections of licensed real estate brokers), and diverts significant business from lawful real

estate practitioners (like the Plaintiff and members of the class), the Amended Complaint

sufficiently sets forth a claim for unfair competition.

           2. Plaintiff States a Claim for Violations of GBL § 349

       To state a claim under GBL § 349, “a party must allege that its adversary has engaged in

consumer-oriented conduct that is materially misleading, and that the party suffered injury as a

result of the allegedly deceptive act or practice.” Yellow Book Sales & Distribution Co. v.

Hillside Van Lines, Inc., 98 A.D.3d 663, 664-65 (2d Dep’t 2012). New York defines materially

misleading conduct as that which is “likely to mislead a reasonable consumer acting reasonably

under the circumstances.” Oswego Laborers’, 85 N.Y.2d at 26.

       As alleged in the Amended Complaint and argued repeatedly herein, Airbnb’s conduct is

likely to mislead a reasonable consumer into believing that it is lawfully collecting commissions

and serving as a facilitator of rental transactions despite unambiguous law to the contrary. It is

therefore ironic that Defendant would argue that its TOS disclaimer of being a broker would lead

a reasonable consumer to know it is not a licensed real estate broker when the disclaimer is, in

fact, direct evidence of deception. Despite engaging in clearly-defined real estate broker activity,

Airbnb’s disclaimer further misleads consumers into believing that Airbnb does not need to

comply with New York law and that Airbnb is entitled to receive commissions.

       Defendant incorrectly claims that Serrano v. Cablevision Sys. Corp. applies. In Serrano,

the plaintiffs brought an action against their internet provider that made allegedly unauthorized

limitations to their bandwidth despite making claims that their internet service had “blazing fast



                                                - 22 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 30 of 33




speed” and was “up to 5x faster than phone company High Speed Internet.” 863 F. Supp. 2d 157,

162 (E.D.N.Y. 2012). However, the court found that the representations made by defendant were

not deceptive because its “discretionary restriction of bandwidth or suspension of internet

service—was fully disclosed in the Terms of Service and Acceptable Use Policy.” Id. at 167.

Plaintiff’s case differs dramatically from Serrano because the disclaimer in Airbnb’s TOS is

demonstrably false.

           3. Plaintiff’s Claims Arise From Defendant’s Unfair Competition
              Through Misrepresentations to Consumers

       Defendant mischaracterizes Plaintiff’s claim as “merely alleging that a statute has been

violated.” Def. Mem. at 12. This is incorrect. The claim is not that Airbnb is violating RPL § 440

but rather that Airbnb is engaging in unfair competition with Plaintiff and other licensed brokers

by deceiving (and diverting) consumers. This deception allows Airbnb to exploit a commercial

arena is has no business being in and gain an unfair competitive advantage over Plaintiff and

other licensed real estate brokers by engaging in unregulated conduct (a troubling degree of

which even licensed brokers are prohibited from).

       Defendant is incorrect in arguing that Conboy v. AT & T Corp., 84 F. Supp. 2d 492

(S.D.N.Y. 2000), is applicable. There, the plaintiffs claimed that defendant violated GBL §

601(6), however, because GBL § 601(6) does not have a private right of action, plaintiffs

asserted that at “a violation of that statute necessarily constitutes a deceptive act under Section

349.” Id. at 506). On appeal, the Second Circuit rejected the argument, noting that “Plaintiffs

have not alleged any facts to suggest that UCS misled them; they also have not identified any

statement made during any of UCS’s telephone calls that was false or deceptive.” Conboy v. AT

& T Corp., 241 F.3d 242, 258 (2d Cir. 2001). Notably, the lower court stated that not all claims

alleging violations of statutes without private rights of action fail to state a claim under GBL §


                                              - 23 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 31 of 33




349. See 84 F. Supp. 2d at 506 (“other violations of Section 601 may be sufficiently deceptive to

constitute a claim under Section 349”). Here, Airbnb deceived customers by explicitly stating it

was not a real-estate broker despite clearing acting in that capacity.

       Finally, Defendant incorrectly asserts that Trieber v. Aspen Dental Management, Inc., as

discussed above, is substantially similar to this matter. There, the court granted a motion to

dismiss plaintiffs’ claims under GBL § 349, because plaintiffs (i.e., patients of Aspen Dental)

failed to “allege a distinct injury attributable to defendants’ deceptive representations.” Trieber,

635 F.App’x at *3. Here, unlike the plaintiffs in Trieber (i.e., consumers), Plaintiff (i.e., a

competitor) alleges that it suffered harm (financial and otherwise) as a result of Defendant’s

misrepresentations. Specifically, Plaintiff alleges that were it not for Defendant’s ability to

operate freely and unrestrictedly in the real estate market, consumers would not have directed

their business (hundreds of millions of dollars’ worth) away from licensed real-estate brokers

such as Plaintiff, and other members of the class. AC ¶ 60.

IV.    CONCLUSION
       For the foregoing reasons, Plaintiff respectfully requests that Defendant’s Motion to

Dismiss as to Rule 12(b)(1) be denied, and, if the Court considers and denies Defendant’s

request for dismissal as to Rule 12(b)(6), that it also consider Plaintiff’s earlier-filed motion for

summary judgment, and/or permit Plaintiff to proceed with discovery, and for such other and

further relief as is proper under the circumstances.




                                                - 24 -
      Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 32 of 33




DATED: March 3, 2017

                                              Respectfully submitted,

                                              NEWMAN FERRARA LLP



                                              By:    s/ Jeffrey M. Norton
                                                       Lucas A. Ferrara
                                                       Jeffrey M. Norton
                                              1250 Broadway, 27th Fl.
                                              New York, NY 10001
                                              (212) 619-5400
                                              lferrara@nfllp.com
                                              jnorton@nfllp.com

                                              Counsel for Plaintiff
                                              and the Proposed Class




                                   - 25 -
        Case 1:16-cv-08939-VSB Document 26 Filed 03/03/17 Page 33 of 33




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 3, 2017, I electronically filed the foregoing

Plaintiff’s Memorandum of Law in Opposition to Airbnb, Inc.’s Motion to Dismiss with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

all counsel of record.



                                                    s/ Jeffrey M. Norton
                                                  JEFFREY M. NORTON
